Case 2:18-cv-00731-RBL Document 21 Filed 06/21/18 Page 1 of 125
Case 2:18-cv-00731-RBL Document 21 Filed 06/21/18 Page 2 of 125
Case 2:18-cv-00731-RBL Document 21 Filed 06/21/18 Page 3 of 125
Case 2:18-cv-00731-RBL Document 21 Filed 06/21/18 Page 4 of 125
Case 2:18-cv-00731-RBL Document 21 Filed 06/21/18 Page 5 of 125
           Case 2:18-cv-00731-RBL Document 21 Filed 06/21/18 Page 6 of 125



 1

 2                                    CERTIFICATE OF SERVICE

 3           I hereby certify that on the date below, I caused the foregoing document to be

 4   electronically filed with the Clerk of the Court using the CM/ECF system which will send

 5   notification of the filing to all counsel of record.

 6

 7   DATED: June 21, 2018                            ORRICK, HERRINGTON & SUTCLIFFE LLP

 8
                                                      By:     /s/ Robert M. McKenna
 9                                                          Robert M. McKenna (WSBA No. 18327)
                                                            rmckenna@orrick.com
10
                                                            701 Fifth Avenue, Suite 5600
11                                                          Seattle, WA 98104-7097
                                                            Telephone: 206-839-4300
12                                                          Facsimile: 206-839-4301

13

14

15

16

17

18

19
20

21

22

23

24

25

26

27
28
     MESKE DECLARATION IN SUPPORT OF
                                                                          ORRICK, HERRINGTON & SUTCLIFFE LLP
     PLAINTIFFS’ MOTION FOR                           -6-                       701 Fifth Avenue, Suite 5600
     PRELIMINARY INJUNCTION                                                    Seattle, Washington 98104-7097
                                                                                        +1 206 839 4300
    Case 2:18-cv-00731-RBL Document 21 Filed 06/21/18 Page 7 of 125




                EXHIBIT A




7
